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1    Samir Dizdarevic-Miller, ISB #11471
2    Etter, McMahon, Lamberson, Van Wert & Oreskovich, P.C.
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4    Spokane, Washington 99201
     Telephone: (509) 747-9100
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     samir@ettermcmahon.com
7
8
9                      UNITED STATES DISTRICT COURT
10                 DISTRICT OF IDAHO (NORTHERN DIVISION)
11
12   CODY J. SCHUELER, an individual,
13
                      Plaintiff,             Case No. 2:22-cv-00389-DCN
14
15
         v.
16                                           NOTICE OF APPEARANCE ON
17   FOUR SQUAREBIZ, LLC, a                  BEHALF OD CODY J.
18   Wyoming limited liability company,      SCHUELER
19   KEITH O. CREWS, an individual and
20   the associated marital community,
21
     MICAH EIGLER, an individual and
     the associated marital community, and
22
     JOHN AND JANE DOES 1-10,
23
24                    Defendants.
25
26
27       PLEASE TAKE NOTICE that SAMIR DIZDAREVIC-MILLLER of the
28
29
     law firm of ETTER, McMAHON, LAMBERSON, VAN WERT &
30
     ORESKOVICH, P.C., hereby appears in the above cause of action on behalf of
31
32   Plaintiff CODY J. SCHUELER, and requests that all further pleadings and papers




      NOTICE OF APPEARANCE ON BEHALF OF           ETTER, MCMAHON, LAMBERSON,
      CODY J. SCHUELER – Page 1                   VAN WERT & ORESKOVICH, P.C.
                                                       618 WEST RIVERSIDE AVENUE, SUITE 210,
                                                    SPOKANE, WASHINGTON 99201 (509) 747-9100
           Case 2:22-cv-00389-DCN Document 13 Filed 11/04/22 Page 2 of 3




1    herein, except process, be served upon the undersigned attorney at the address
2
3    stated herein.
4
                                  Dated November 7, 2022.
5
6
                                  By: /s/ Samir Dizdarevic-Miller
7                                     Samir Dizdarevic-Miller, ISB #11471
8                                     Etter, McMahon, Lamberson,
9                                     Van Wert & Oreskovich, P.C.
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     NOTICE OF APPEARANCE ON BEHALF OF            ETTER, MCMAHON, LAMBERSON,
     CODY J. SCHUELER – Page 2                    VAN WERT & ORESKOVICH, P.C.
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1
2                           DECLARATION OF SERVICE
3
4         The undersigned certifies, under penalty of perjury of the laws of the State
5
     of Washington, that I am now and at all times herein, a resident of the State of
6
7    Washington, over the age of eighteen years, not a party to or interested in the
8
9    above-entitled action, and competent to be a witness herein. On the date given
10
11   below, I caused to be served in the manner noted copies of the foregoing
12
13
     document upon the following parties:
14
       Keith O. Crews                        U.S. Mail, postage prepaid
15
       1503 Scenic Overlook                  Facsimile
16     Court                                 E-Mail - via WA Courts
17     Kennesaw, GA 30152                    Via Hand Delivery
18     Micah Eigler                          U.S. Mail, postage prepaid
19     6208 Enfield Avenue                   Facsimile
20     Los Angeles, CA 91316                 E-Mail - via WA Courts
21                                           Via Hand Delivery
22     Four SquareBiz, LLC                   U.S. Mail, postage prepaid
23     c/o Registered Agents Inc.            Facsimile
24     30 N. Gould Street, Suite R           E-Mail - via WA Courts
25     Sheridan, WY 82801                    Via Hand Delivery
26
27
28        EXECUTED this 7th day of November, 2022 in Spokane, Washington.
29
30
                      By:/s/ Jodi Dineen
31
                        Jodi Dineen
32




      NOTICE OF APPEARANCE ON BEHALF OF              ETTER, MCMAHON, LAMBERSON,
      CODY J. SCHUELER – Page 3                      VAN WERT & ORESKOVICH, P.C.
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                                                       SPOKANE, WASHINGTON 99201 (509) 747-9100
